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Earl Polk III, Warren Polk, Vincent Polk, and Jason Polk

                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA


STATE OF ALASKA, DEPARTMENT
OF TRANSPORTATION & PUBLIC
FACILITIES,

                 Plaintiff,                        Case No. 3:20-cv-00306-JWS

vs.

2.396 ACRES MORE OR LESS NEAR
BEATHEL, ALASKA; 3,344 SQ. FT.
MORE OR LESS NEAR BETHEL,
ALASKA; the Bureau OF INDIAN
AFFAIRS; EARL POLK III; WARREN
POLK; VINCENTO POLK; JASON
POLK; and SOPHIE EVAN,

               Defendants.


                              ENTRY OF APPEARANCE

      COMES NOW Hughes White Colbo Wilcox & Tervooren, LLC and enters its

appearance as attorneys of record on behalf of Defendants, EARL POLK III, WARREN

POLK, VINCENT POLK, AND JASON POLK.                        Service may be had on such




        Case 3:20-cv-00306-JWS Document 10 Filed 02/26/21 Page 1 of 2
defendant by delivering mailings or pleadings to said attorneys at 1029 W. 3rd Avenue, Suite

110, Anchorage, Alaska 99501.

              DATED at Anchorage, Alaska, this 26th day of February, 2021.

                                         HUGHES WHITE COLBO
                                         WILCOX & TERVOOREN, LLC

                                         Attorneys for Defendants
                                         Earl Polk III, Warren Polk, Vincent Polk, and
                                         Jason Polk


                                         By:   /s/ Steven S. Tervooren
                                               Steven S. Tervooren
                                               ABA No. 7910085




I hereby certify that a true and correct copy
of the foregoing was served via the court’s
ECF system on the 26th day of February, 2021 on:

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  /s/ Steven S. Tervooren




         Case 3:20-cv-00306-JWS Document 10 Filed 02/26/21 Page 2 of 2
